                      IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF MISSOURI
                                   WESTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
                                   Plaintiff,       )
                                                    )
                 v.                                 )        No.07-00115-06-CR-W-NKL
                                                    )
JOSE CANALES,                                       )
                                                    )
                                   Defendant.       )


                                 REPORT AND RECOMMENDATION
                                  CONCERNING PLEA OF GUILTY

        The Defendant, by consent, has appeared before me pursuant to Fed.R.Crim.P. 11, Local Rule

72(j)(26), and 28 U.S.C. § 636, and has entered a plea of guilty to Counts 9, 15, 16 and 17. The

defendant further agrees to forfeit his interest in all property listed in the forfeiture allegation in the

Indictment. The defendant agrees to the forfeiture of property as set forth in the Plea Agreement.

After cautioning and examining the Defendant under oath concerning each of the subjects mentioned in

Fed.R.Crim.P. 11, I determined that the guilty pleas are knowledgeable and voluntary and that the

offenses charged are supported by an independent basis in fact containing each of the essential elements

of such offenses. A record was made of the proceedings and a transcript is available. I therefore

recommend that the pleas of guilty be accepted and that the Defendant be adjudged guilty and have

sentence imposed accordingly.

        Failure to file written objections to this Report and Recommendation within ten (10) days from

the date of its service shall bar an aggrieved party from attacking such Report and Recommendation

before the assigned United States District Judge. 28 U.S.C. § 636(b)(1)(B).


                                                              s/ SARAH W. HAYS
                                                             SARAH W. HAYS
                                                             United States Magistrate Judge
Dated: March 12 , 2008



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